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 3   Sacramento, California 95814
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 4
 5
                IN THE UNITED STATES DISTRICT COURT FOR THE
 6
                        EASTERN DISTRICT OF CALIFORNIA
 7
 8
     UNITED STATES OF AMERICA,     )      CR. No. 2:08-cr-00186-MCE
 9                                 )
                     Plaintiff,    )      STIPULATION AND ORDER
10             v.                  )
                                   )
11                                 )
     CHARLENE LEEANN MITCHELL,     )
12                                 )
                      Defendant.   )
13   ______________________________)
14
         The defendant, CHARLENE LEEANN MITCHELL, through her
15
     undersigned counsel, and the United States, through its
16
     undersigned counsel, agree and stipulate that the SPECIAL
17
     CONDITIONS OF RELEASE for defendant be amended to include the
18
     additional condition of release as follows:
19
           12. You shall remain at the Effort, Inc., inpatient
20             facility at 1550 Juliesse Avenue, Sacramento,
               California, and participate in their program of
21             substance treatment until release by the Pretrial
               Services Officer;
22             a.   Defense council or an investigator shall escort
                    you to all required court hearings and escort you
23                  back to The Effort upon completion of the hearing
24
          I, William E. Bonham, the filing party, have received
25
     authorization from AUSA Lawrence G. Brown to sign and submit this
26
     stipulation and proposed order on his behalf and that defense
27
     counsel has authorization and agreement of his client to abide by
28
     the additional condition stated above.
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 1       Accordingly, the defendant and the United States agree and
 2   stipulate to the AMENDED SPECIAL CONDITIONS OF RELEASE, ATTACHED.
 3
 4   Dated: July 10, 2008
 5                                        McGREGOR W. SCOTT
                                          United States Attorney
 6
                                           /s/ William E. Bonham
 7                                      By:_______________________
                                           LAWRENCE G. BROWN
 8                                         Assistant U.S. Attorney
 9
     Dated: July 10, 2008
10                                      CHARLENE LEEANN MITCHELL
                                           Defendant
11
12
                                        By:/s/William E. Bonham
13                                       WILLIAM E. BONHAM
                                              Counsel for Defendant
14
15
16
                                         ORDER
17
18        IT IS SO ORDERED, that the defendant’s Special Conditions of
19   Release be amended to include to additional Twelfth condition
20   set forth in the attached AMENDED SPECIAL CONDITIONS OF RELEASE.
21   Dated:    July 11, 2008
22
23
24
25
26
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                                            2
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 1
 2        ATTACHMENT:
 3
 4
 5
 6
 7                   Amended SPECIAL CONDITIONS OF RELEASE
 8
 9                                                      RE:     Mitchell, Charlene Leeann
10                                                      Doc. No. 2:08CR-0186-MCE
11                                                              June 27, 2008
12   1.   You shall report to and comply with the rules and regulations of the Pretrial
13        Services Agency;
14
15   2.   You shall report in person to the Pretrial Services Agency on the first working day
16        following your release from custody;
17
18   3.   You shall report any contact with law enforcement to your pretrial services officer
19        within 24 hours;
20
21   4.   You are to reside at a location approved by the pretrial services officer and not move or
22        absent yourself from this residence for more than 24 hours without the prior approval of
23        the pretrial services officer;
24
25   5.   Your travel is restricted to the Eastern District of California without the prior consent of
26        the pretrial services officer;
27
28   6.   You shall refrain from excessive use of alcohol or any use of a narcotic drug or other

                                                    3
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 1         controlled substance without a prescription by a licensed medical practitioner; and you
 2         shall notify Pretrial Services immediately of any prescribed medication(s). However,
 3         medicinal marijuana, prescribed or not, may not be used;
 4
 5   7.    You shall submit to drug or alcohol testing as approved by the pretrial services officer;
 6
 7   8.    You shall seek and/or maintain employment and provide proof of same as requested by
 8         your pretrial services officer;
 9
10   9.    You shall participate in a program of medical or psychiatric treatment, including
11         treatment for drug or alcohol dependency, as approved by the pretrial services officer;
12
13   10.   You shall not associate or have any contact with the co-defendants in this case, unless in
14         the presence of counsel or otherwise approved in advance by the pretrial services officer;
15
16   11.   You shall work toward obtaining your GED.
17
18   12.   You shall remain at the Effort, Inc., inpatient facility at 1550 Juliesse Avenue,
19         Sacramento, California, and participate in their program of substance treatment until
20         released by the Pretrial Services Officer;
21         a.       Defense council or an investigator shall escort you to all required court hearings
22                  and escort you back to The Effort upon completion of the hearing;
23
24
25
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                                                     4
